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JACQUELINE TUCKER,
Plaintiff-Appellant

V.
CASE NO. 17-cv-11909-PBS

U.S. BANK, N.A. AS TRUSTEE FOR CITIGROUP
MORTGAGE LOAN TRUST, INC., 2006-HE3, ASSET
BACKED PASS-THROUGH CERTIFICATES SERIES
2006-HE3; WELLS FARGO BANK, N.A.; and
SERVICELINK FIELD SERVICES,

Defendants-Respondents

 

NOTICE OF APPEAL
Notice is hereby given that JACQUELINE TUCKER, above named, Plaintiff,
hereby appeals from the Order of the Honorable, C.J. Saris entered in the above entitled
action on February 16, 2018.
Date: March 15, 2018

Respectfully Submitted,

Jacqueline Tucker, Pro Se
8 Indian Trail
White Plains, New York 10603

 

By the Court,

 

Deputy Clerk

(NoticeofAppeal.wpd = - 12/98)
